Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 1 of 27 Page ID #:1


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 7    Arturo Brook

 8                              UNITED STATES DISTRICT COURT

 9         FOR THE CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

10    MANCHESTER INTERNATIONAL, LLC,             Case No.
      A California limited liability company;
11    and ARTURO BROOK, an individual,
12                 Plaintiff,                    COMPLAINT OF MANCHESTER
13    v.                                         INTERNATIONAL LLC AND ARTURO
                                                 BROOK FOR:
14    EMMANUEL A. ORTIZ;                         1. DECLARATORY JUDGMENT;
15    INTERNACIONAL DE SACOS Y
                                                 2. BREACH OF CONTRACT; AND
      ARPILLAS, SA DE CV; SACOS DE
16    POLIPROPILENO ESPECIALIZADOS,              3. INTERPLEADER
      SA DE CV; TRENZADOS MARINOS,
17    SA DE CV; ARPILLAS DE
      EXPORTACION, SA DE CV; NEO
18    PELICULAS, SA DE CV; DELIBAN
19    EMPRESIARAL, SA DE CV;
      INDUSTRIA DE DISEÑO EN
20    POLIMEROS, SA DE CV; NEO
      EMPAQUES INTERNACIONAL, SA DE
21    CV; ARRENDADORA EMM, SA DE CV;
      FOODCORP MEXICO, SA DE CV;
22    PRODUCTORA SUREÑA MAYA, SPR
      DE RL; CEDARS TRANSFER, SA DE
23
      CV; LAFROYE, SPR DE RL;
24    AGROCINTALAPA, SPR DE RL;
      ARVUN, SPR DE RL; AGROPECUARIA
25    BALCHE, SPR DE RL; PRODUCTOS
      MOCTEZUMA RURAL, SPR DE RL;
26    and DOES 1 through 50, inclusive,
27                 Defendants.
28
                                                 1
                                         COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 2 of 27 Page ID #:2


 1       Plaintiffs MANCHESTER INTERNATIONAL, LLC (“Manchester”) and ARTURO
 2    BROOK (“Arturo Brook”) (collectively, “Plaintiffs”), by and through their attorneys,

 3    hereby allege as follows:

 4                                      INTRODUCTION

 5       1. Manchester is a limited liability company with its principal place of business

 6    located at 21772 Salado, Mission Viejo, CA 92691.

 7       2. Plaintiff Arturo Brook is an individual who resides in Orange County, California.

 8       3. Defendant/defendant-in-interpleader EMMANUEL A. ORTIZ (“Mr. Ortiz”), a.k.a.

 9    Emmanuel Abraham Ortiz Calderon, on information and belief, is a citizen of Mexico

10    residing in Mexico.

11    Grupo Ortiz Defendants

12       4. Defendant/defendant-in-interpleader        INTERNACIONAL         DE   SACOS    Y

13    ARPILLAS, SA DE CV (“ISA”) is a company organized under the laws of Mexico.

14       5. Defendant/defendant-in-interpleader         SACOS      DE        POLIPROPILENO

15    ESPECIALIZADOS, SA DE CV (“SPE”) is a company organized under the laws of

16    Mexico.

17       6. Defendant/defendant-in-interpleader TRENZADOS MARINOS, SA DE CV

18    (“Trenzados Marinos”) is a company organized under the laws of Mexico.

19       7. Defendant/defendant-in-interpleader ARPILLAS DE EXPORTACION, SA DE

20    CV (“Arpillas de Exportacion”) is a company organized under the laws of Mexico.

21       8. Defendant/defendant-in-interpleader NEO PELICULAS, SA DE CV (“Neo

22    Peliculas”) is a company organized under the law of Mexico.

23       9. Defendant/defendant-in-interpleader DELIBAN EMPRESIARAL, SA DE CV

24    (“Deliban) is a company organized under the laws of Mexico.

25       10. Defendant/defendant-in-interpleader       INDUSTRIA        DE    DISEÑO      EN

26    POLIMEROS, SA DE CV (“IDP”) is a company organized under the laws of Mexico.

27       11. Defendant/defendant-in-interpleader NEO EMPAQUES INTERNACIONAL, SA

28    DE CV (“Neo Empaques”) is a company organized under the laws of Mexico.
                                                   2
                                           COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 3 of 27 Page ID #:3


 1       12. On information and belief, Mr. Ortiz is the principal of ISA, SPE, Trenzados
 2    Marinos, Arpillas de Exportacion, Neo Peliculas, Deliban, IDP and Neo Empaques, a
 3    group of companies known as Grupo Ortiz (collectively, “Grupo Ortiz Defendants”
 4    and/or “Grupo Ortiz entities”).
 5    Advance Payment Defendants/Entities (“APEs”)
 6       13. Defendant-in-interpleader ARRENDADORA EMM, SA DE CV (“EMM”) is a
 7    company organized under the laws of Mexico.
 8       14. Defendant-in-interpleader FOODCORP MEXICO, SA DE CV (“Foodcorp”) is a
 9    company organized under the laws of Mexico.
10       15. Defendant-in-interpleader PRODUCTORA SUREÑA MAYA, SPR DE RL
11    (“PSM”) is a company organized under the laws of Mexico.
12       16. Defendant-in-interpleader CEDARS TRANSFER, SA DE CV (“Cedars”) is a
13    company organized under the laws of Mexico.
14       17. Defendant-in-interpleader LAFROYE, SPR DE RL (“Lafroye”) is a company
15    organized under the laws of Mexico.
16       18. Defendant-in-interpleader AGROCINTALAPA, SPR DE RL (“Agrocintalapa”) is
17    a company organized under the laws of Mexico.
18       19. Defendant-in-interpleader ARVUN, SPR DE RL (“Arvun”) is a company
19    organized under the laws of Mexico.
20       20. Defendant-in-interpleader AGROPECUARIA BALCHE, SPR DE RL (“Balche”)
21    is a company organized under the laws of Mexico.
22       21. Defendant-in-interpleader PRODUCTOS MOCTEZUMA RURAL, SPR DE RL
23    (“PMR”) is a company organized under the laws of Mexico.
24       22. Plaintiffs are informed and believe, and hereon allege that Defendants DOES 1
25    to 50 were and are individuals residing in and/or business entities doing business in
26    the Mexico, and are thus subject to the diversity jurisdiction of this court. The true
27    names and capacities of DOES 1 to 50, and each of them, are unknown to Plaintiffs,
28    who sue said defendants by such fictitious names. Plaintiffs are informed and believe,
                                                  3
                                            COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 4 of 27 Page ID #:4


 1    and hereon allege, that each DOE defendant is legally responsible in some manner for
 2    the events herein mentioned. Plaintiffs will request leave of court to amend this
 3    Complaint to reflect the true name and capacity of each said DOE when ascertained.
 4                                     JURISDICTION & VENUE
 5       23. This Court has jurisdiction over the subject matter of this action pursuant to Fed.
 6    R. Civ. Proc. 22 and 28 U.S.C. §1332. There is complete diversity between all of the
 7    Plaintiffs on the one hand, and all the Defendants on the other, and more than $75,000
 8    is in controversy.
 9       24. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §1331. The
10    Court has authority to grant declaratory relief under 28 U.S.C. §§2201 and 2202.
11       25. Venue is proper in this District under 28 U.S.C. §1391 in that the services
12    supporting Plaintiffs’ right to earned fixed and commission fees, and which led to
13    Plaintiffs having possession of the stake occurred in this judicial district, and the stake
14    that is the subject of the interpleader claim is situated in this judicial district.
15       26. The United States District Court for the Central District of California has or will
16    have personal jurisdiction over all defendants because each has sufficient minimum
17    contacts with this district.
18                                    GENERAL ALLEGATIONS
19    Initial Term
20       27. On or about October 10th 2012, Plaintiffs and Mr. Ortiz executed a letter of intent
21    pursuant to which Manchester (Brook, acting via Manchester) was engaged as agent
22    for Mr. Ortiz, as undisclosed principal, to purchase materials and products in the US
23    market and, by separate transaction, sell them to Grupo Ortiz Defendants and third
24    parties in Mexico, for and at the direction of Mr. Ortiz, in exchange for agreed
25    compensation (hereafter “Commission Agreement”). A true and correct copy of the
26    Commission Agreement is attached hereto as Exhibit A.
27       28. The parties proceeded with their relationship under the Commission Agreement,
28    which contained the material terms of their agreement. Specifically, the Commission
                                                  4
                                               COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 5 of 27 Page ID #:5


 1    Agreement specified an effective date and term, services to be provided by Plaintiffs,
 2    and compensation to be paid by Mr. Ortiz, as follows:
 3          a. Effective Nov 1st 2012 for a term of 24-months, which could be extended if
 4              both parties desired it to continue.
 5          b. Plaintiffs to provide trading services to facilitate Mr. Ortiz’s operations,
 6              including management of purchases and sales, coordination and
 7              management of import/export operations, coordination with providers and
 8              buyers, provision of logistics support and other related activities.
 9          c. In exchange for Plaintiffs’ services, Mr. Ortiz to pay commission fees to
10              Plaintiffs as follows:
11                   0.80% on the value of commercial activity performed on behalf of
12                    Ortiz, up to the first $25,000 of monthly fees
13                   0.50% on the value of the commercial activity performed on behalf of
14                    Ortiz, after the first 25,000 of monthly fees
15                   guaranteed minimum of $25,000 monthly fees regardless of the value
16                    of transactions performed on any particular month
17       29. The Commission Agreement specified that the minimum fee for the first 6-
18    months would be paid monthly in advance, but thereafter fees and commissions would
19    be collected from cash flows of the operation without a payment request.
20       30. Plaintiffs and Mr. Ortiz performed under the Commission Agreement from about
21    November 2012 until approximately August 2013 (hereafter, the “Initial Period”).
22       31. During the Initial Period, the Plaintiffs and Mr. Ortiz’s course of conduct under
23    the Commission Agreement proceeded as follows: Manchester, in its capacity as agent
24    for undisclosed principal Mr. Ortiz, entered into purchase contracts with US suppliers
25    for polypropylene pellets products and, separately, into sales contracts with Grupo
26    Ortiz entities at a specific markup on each transaction as directed by Mr. Ortiz.
27    Manchester was to pay the markup profits to Puyol C.V., a Dutch partnership
28    (referenced in the Commission Agreement), established by Mr. Ortiz and his brother.
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                                            COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 6 of 27 Page ID #:6


 1    During the Initial Period, Mr. Ortiz directed Manchester to transfer some profits earned
 2    under the Commission Agreement to Puyol C.V.
 3       32. In about August 2013, Mr. Ortiz notified Manchester that he was terminating the
 4    agency relationship to work with a different agent.
 5       Renewal Term
 6       33. On or about December 2013, Mr. Ortiz contacted Mr. Brook through a third party
 7    (Christian Rauda, allegedly the then-CFO for the Grupo Ortiz Defendants) and notified
 8    him that “it had not worked out” with the other agent and that Mr. Ortiz wished to resume
 9    the parties’ agency relationship “as before.” Mr. Brook agreed, on behalf of Manchester,
10    to resume the agency relationship under the same terms as before, on condition that
11    the fixed fee increased to $30,000 pm (from $25,000 pm during the Initial Period).
12       34. Mr. Ortiz agreed, and the parties resumed the agency relationship under the
13    Commission Agreement (with the $30,000 pm fixed fee modification). Specifically, the
14    compensation structure after January 2014 was as follows:
15                  0.80% on the value of commercial activity performed on behalf of Ortiz,
16                   up to the first $30,000 of monthly fees
17                  0.50% on the value of the commercial activity performed on behalf of
18                   Ortiz, after the first 30,000 of monthly fees
19                  guaranteed minimum of $30,000 monthly fees regardless of the value
20                   of transactions performed on any particular month
21       35. From January 2014 to February 2020, Plaintiffs and Mr. Ortiz operated without
22    incident under the Commission Agreement, as modified to increase the fixed monthly
23    fee (hereafter the “Renewal Term”).
24       36. Plaintiffs and Mr. Ortiz’s course of conduct during the Renewal Term was
25    identical to their course of conduct during the Initial Term. Manchester, directed by and
26    acting on behalf of its undisclosed principal Mr. Ortiz, entered into purchase contracts
27    with US suppliers for polypropylene pellets products and, separately, entered into sales
28    contracts with specific Grupo Ortiz entities at a specific markup on each transaction as
                                                    6
                                             COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 7 of 27 Page ID #:7


 1    directed by Mr. Ortiz. During the Renewal Term, no markup profits were sent to Puyol
 2    C.V.; instead, early in the Renewal Period, Mr. Ortiz directed Manchester to remit
 3    transfers from time to time to another entity believed to be controlled by Mr. Ortiz. After
 4    those initial transfers, Mr. Ortiz directed Manchester to use the balance in the account,
 5    if any, as a revolving fund for purchases under the Commission Agreement; Mr. Ortiz
 6    did not direct further transfers to Puyol C.V. or to any other entity or person.
 7       37. In February 2020, Plaintiffs and Mr. Ortiz mutually agreed to terminate the
 8    Commission Agreement. For the past 12-months, Plaintiff and Mr. Ortiz worked on
 9    agreements to formally terminate their agency relationship and to transfer funds
10    Manchester is holding under the Commission Agreement; however, they were unable
11    to agree on the final terms of the agreements.
12                                  FIRST CAUSE OF ACTION
13                        (Declaratory Relief – Against Defendant Ortiz)
14       38. Plaintiffs repeat and re-allege each and every allegation in paragraph 1 through
15    37 as if set forth herein.
16       39. Plaintiffs and Mr. Ortiz agree that Manchester discharged the obligations
17    required of it during the Initial Term and Renewal Term, and that compensation was to
18    be deducted from funds held in Manchester’s account for Mr. Ortiz in Orange County,
19    California. However, an actual and justiciable controversy exists between Plaintiffs and
20    Mr. Ortiz regarding:
21         a. The compensation terms governing the Renewal Term;
22         b. Calculation of compensation owed to Plaintiff as of February 2020 for agency
23             services rendered to Ortiz during the Initial Term and Renewal Term, which
24             Plaintiffs claim is $2,225,562.80, and Mr. Ortiz claims is $0 (Mr. Ortiz has taken
25             conflicting positions re compensation amount owed as of February 2020).
26    Compensation Terms Governing Renewal Term
27       40. Mr. Ortiz recently informed Plaintiffs, for the first time, that there is no unpaid
28    compensation due to Manchester for the Renewal Period because, in January 2014,
                                              7
                                             COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 8 of 27 Page ID #:8


 1    Manchester agreed to resume the agency relationship in exchange for compensation
 2    of $30,000 pm as a fixed fee, with no commission. Specifically, Mr. Ortiz alleges that
 3    the Renewal Term was governed by a “new agreement” pursuant to which
 4    Manchester’s sole compensation would be $30,000 pm as a fixed fee only. Manchester
 5    denies any such agreement.
 6       41. Manchester alleges the Commissions Agreement, including its compensation
 7    terms, governed the parties’ agency relationship during the Renewal Term, with the
 8    only change made being an increase of the fixed fee to $30,000 pm, as set out in
 9    paragraph 34 above. During the Renewal Term, Manchester resumed the commercial
10    activity for Mr. Ortiz specified in the Commission Agreement, and the parties resumed
11    the course of conduct as before during the Initial Term.
12    Calculation of Commissions Owed as of February 2020
13       42. Plaintiffs contend that compensation of $2,225,562.80 (commissions + fixed
14    monthly fee) remained unpaid on February 2020 for commercial activity performed on
15    behalf of Ortiz during the Initial and Renewal Terms, pursuant to the compensation
16    structure set out in paragraphs 28 and 34 above, respectively ($277,830.83 for Initial
17    Term and $1,947,731.97 for Renewal Term). A true and correct summary of Plaintiffs’
18    commission fee calculations for the Initial Period and Renewal Period, respectively,
19    totalling $2,225,562.80 is attached hereto as Exhibit B.
20       43. Mr. Ortiz contends that as of February 2020, no compensation remained unpaid
21    to Manchester for the Initial Term or the Renewal Term.
22    Actual Controversy
23       44. Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§2201 and 2202,
24    this Court may declare the rights or legal relations of any party in any case involving
25    an actual controversy. There is an actual controversy between Plaintiffs and Mr. Ortiz.
26       45. Manchester has collected $2,225,562.80 from cash flow of the commercial
27    operations, as permitted by the Commission Agreement, in payment of compensation
28    it earned but remained unpaid on February 2020. Mr. Ortiz claims no compensation
                                               8
                                           COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 9 of 27 Page ID #:9


 1    remains unpaid and threatens to sue for conversion and breach of contract.
 2       46. Plaintiffs desire to complete the unwinding of the agency relationship with Mr.
 3    Ortiz, and to retain the commissions earned of $2,225,562.80, without of fear of legal
 4    challenge by, or liability to, Ortiz or any other person. Plaintiffs therefore request a
 5    judicial declaration that:
 6           a. The express terms of the Commission Agreement governed the Initial Term
 7               and the Renewal Terms (with the latter Renewal Term modified only to
 8               increase the fixed fee to $30,000 pm); and
 9           b. Consistent and pursuant to the express terms of the Commission Agreement
10               (and secondarily, if necessary, pursuant to the parties’ course of conduct,
11               and custom in the trade), Plaintiffs are entitled to commission fees for the
12               Initial Term and Renewal Terms in the combined amount of $2,225,562.80,
13               and may lawfully retain that sum.
14       47. A judicial determination is necessary to ascertain the rights of Plaintiffs and Mr.
15    Ortiz in connection with the calculation and payment of Plaintiffs’ earned commission
16    fees, so they can terminate their relationship under the Commission Agreement.
17                                 SECOND CAUSE OF ACTION
18                  (Breach of Contract – Against Grupo Ortiz Defendants)
19       48. Plaintiffs repeat and re-allege each and every allegation in paragraph 1 through
20    47 as if set forth herein.
21       49. Between 2018 and 2020, for valuable consideration and acting as agent for
22    undisclosed principal Mr. Ortiz, Manchester entered into numerous purchase and sales
23    contracts with each Grupo Ortiz Defendant (ISA, SPE, Trenzados Marinos, Arpillas de
24    Exportacion, Neo Peliculas, Deliban, IDP and Neo Empaques, respectively), for the
25    purchase by each Grupo Oriz Defendant, and sale to each said defendant by
26    Manchester, of polypropylene products (the “sales contracts”). Attached hereto as
27    Exhibit C is a true and correct summary identifying the purchase orders and invoices
28    for the sales contracts between Manchester and each Grupo Ortiz Defendant.
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                                            COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 10 of 27 Page ID #:10


   1      50. For each sale contract, a Grupo Ortiz Defendant sent one or more purchase
   2   orders (offers to purchase) to Manchester in California, identifying specific product,
   3   price, quantity and delivery terms. Manchester accepted each purchase order,
   4   purchased and procured the product from a US supplier and then arranged its delivery
   5   to the Grupo Ortiz Defendant in Mexico. Manchester then issued an invoice to the
   6   Grupo Ortiz Defendant for the delivered product.
   7      51. Manchester fully performed all obligations required of it under the sales
   8   contracts, and each Grupo Ortiz Defendant accepted delivery of the product without
   9   objection (as they had for numerous prior contracts with Manchester).
 10       52. The Grupo Ortiz Defendants breached their respective contract(s) with
 11    Manchester by failing to pay for the product, totaling $10,171,032.
 12       53. In addition to the sales contracts, between July and September 2019,
 13    Manchester made three payments totaling $1,447,837 to SML Machinengesellschaft
 14    MBH as down payment for machinery purchased by SPE (one of the Grupo Ortiz
 15    Defendants), which SPE was to repay. To date, SPE has not repaid the $1,447,837 it
 16    owes to Manchester, in breach of its obligation to repay.
 17       54. As a direct and proximate result of the Grupo Ortiz Defendants’ breach of their
 18    respective contract(s) with Manchester, Manchester has suffered damages in the
 19    combined amount of $11,618,869 for unpaid product, plus interest thereon (which
 20    amount will be added to the funds interpleaded pursuant to the Third Cause of Action,
 21    so that the full $17.8m APE Funds can be disbursed to the APE Defendants or their
 22    appropriate owner).
 23                                 THIRD CAUSE OF ACTION
 24                             (Interpleader – As to All Defendants)
 25       55. Plaintiffs repeat and re-allege each and every allegation in paragraph 1 through
 26    54 as if set forth herein.
 27    APE Funds & Ortiz Representations
 28       56. During the Renewal Period, each of the APE Defendants made deposits into
                                                10
                                             COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 11 of 27 Page ID #:11


   1   Manchester’s bank account in California on the dates and in the amounts set out in
   2   Exhibit D, totaling approximately $17.8m (collectively, the “APE Funds”).
   3        57. At the time the APE Funds were deposited into Manchester’s account, Plaintiffs
   4   believed the APE Defendants were affiliated with Mr. Ortiz and/or the Grupo Ortiz
   5   Defendants (of which Mr. Ortiz is a principal), and that Mr. Ortiz had authority to transfer,
   6   deposit, hold and dispose of said funds. Mr. Ortiz represented to Manchester that he
   7   had authority over the APE Funds and directed Manchester to (a) accept purchase
   8   orders worth $11.6m from Grupo Ortiz Defendants (the sales contracts referenced in
   9   paragraph 49, above), (b) purchase $11.6m worth of product from US suppliers to fill
 10    the orders; (c) arrange delivery of the product directly to Grupo Ortiz Defendants, and
 11    (d) use $11.6M of the APE Funds to pay the US suppliers for the Grupo Ortiz orders.
 12         58. Mr. Ortiz further represented that the Grupo Ortiz Defendants would perform on
 13    their sales contracts with Manchester by paying Manchester the $11.6m for product
 14    sold and delivered on their purchase orders (thus, Manchester would again hold
 15    $17.8m of APE Funds). Mr. Ortiz knew or should have known that his representations
 16    were false, and that the Grupo Ortiz Defendants would not pay for the products
 17    delivered to them by Manchester. To date, the Grupo Ortiz Defendants have not paid
 18    the $11.6m owed to Manchester and are in breach of their respective contracts with
 19    Manchester, as noted in paragraphs 48 to 54 above.
 20    Interpleader Funds
 21         59. If the Grupo Ortiz Defendants had paid the $11.6m owed to Manchester, as
 22    agreed, or if Mr. Ortiz had never directed Manchester to use APE Funds to buy the
 23    products sold to Grupo Ortiz Defendants under the sales contracts, Manchester would
 24    have $3.9m markup profits that would have been due to Mr. Ortiz + $17.8m of APE
 25    Funds, for a total of $21.7m. Instead, Manchester only has $10.1m in its account (the
 26    “Interpleader Funds”). Therefore, Manchester does not currently hold the full $17.8m
 27    APE Funds, and is short by the $11.6m owed to it by the Grupo Ortiz entities.
 28    //
                                                      11
                                               COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 12 of 27 Page ID #:12


   1   Issue in Controversy
   2       60. There is now an issue in controversy over who is entitled to ownership or
   3   possession of the Interpleader Funds or the APE Funds. On or about February 2020,
   4   after Plaintiffs and Mr. Ortiz decided to terminate the agency relationship, Plaintiffs
   5   learned for the first time from Mr. Ortiz that the APE Defendants have no affiliation to
   6   Mr. Ortiz or the Grupo Ortiz Defendants, and that the APE Defendants are third-parties
   7   who deposited the APE Funds into Manchester’s account as advance payments for
   8   future orders.
   9       61. Manchester cannot ascertain who owns the Interpleader Funds. Mr. Ortiz has
 10    not disclosed clearly who the APE entities are or why they deposited APE Funds into
 11    Manchester’s account (since the APE Funds were deposited into Manchester’s
 12    account, Manchester has not been instructed to purchase any product for any APE).
 13    Further, Manchester does not know whether any portion of the Interpleader Funds that
 14    constitute APE Funds are owned by and being held on Mr. Ortiz’s behalf, on behalf of
 15    Grupo Ortiz Defendants, or a combination of both (and in what respective amounts).
 16    Further, relying on Mr. Ortiz’s representations that APE Funds were to be held by
 17    Manchester towards future orders, Manchester does not know how to apportion the
 18    Interpleader Funds for return to specific APE Defendants.
 19    Interpleader is Proper re Interpleader Funds
 20        62. Manchester is a disinterested stakeholder as to the Interpleader Funds.
 21        63. Manchester does not know who, as between Ortiz, the Grupo Ortiz Defendants
 22    and APE Defendants, is entitled to the Interpleader Funds.
 23        64. Manchester has a real and reasonable fear of liability, or vexatious, conflicting
 24    claims directed against the Interpleader Funds, and is not in a position to accurately
 25    ascertain which party’s claim to the Interpleader Funds is proper without danger of
 26    multiple liability.
 27        65. Pursuant to the provisions of Federal Rules of Civil Procedure Rule 22,
 28    Manchester is entitled to join all persons with claims against the Interpleader Funds in
                                                     12
                                             COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 13 of 27 Page ID #:13


   1   a single proceeding so that Manchester can avoid duplicative litigation and the
   2   possibility of multiple or inconsistent liability on the conflicting claims of defendants.
   3                                    PRAYER FOR RELIEF
   4      WHEREFORE, Plaintiffs respectfully pray for judgment as follows:
   5      As to the First Cause of Action
   6      (a) For a declaration that, the express terms of the Commission Agreement
   7          governed the Initial Term and Renewal Terms (with the latter modified to
   8          increase the fixed fee to $30,000 pm);
   9      (b) For a declaration that, consistent with the terms governing Plaintiffs and Mr.
 10           Ortiz’s relationship, as of February 2020 Plaintiffs were entitled to unpaid
 11           compensation for the Initial Term and Renewal Terms in the combined amount
 12           of $2,225,562.80, and may lawfully retain that sum;
 13       As to the Second Cause of Action
 14       (c) An award of damages in the amount of $11,618,869, plus interest thereon;
 15       (d) That all sums recovered under the Second Cause of Action be added to the
 16           Interpleader Funds;
 17       As to the Third Cause of Action
 18       (e) That Manchester be allowed to continue to freeze the Interpleader Funds until
 19           otherwise directed by the Court;
 20       (f) That Defendants be required to interplead and assert in this proceeding and
 21           settle between themselves any and all claims which each or any of them have
 22           to the Interpleaded Funds, and that Manchester be discharged from all liability
 23           relating to such funds except to the party or parties to whom the Court shall
 24           judge entitled to the Interpleader Funds, and then only to the extent of the
 25           Interpleader Funds frozen by Manchester;
 26       (g) That Defendants, and each of them, be permanently restrained from
 27           commencing any action for the recovery of the Interpleaded Funds or any party
 28           thereof, or any claimed damages related thereto, as against Manchester;
                                                 13
                                               COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 14 of 27 Page ID #:14


   1      (h) That Defendants, and each of them, be permanently restrained from instituting
   2         or prosecuting any proceeding in any state or United States court affecting the
   3         Interpleader Funds until further order of this Court;
   4      (i) Manchester be dismissed from this lawsuit and discharged from any and all
   5         liability regarding the Interpleaded Funds;
   6      (j) Manchester recover out of the Interpleader Funds its costs and attorney fees
   7         incurred in this action and all actions connected to the Interpleader Funds;
   8      As to all Causes of Action
   9      (k) An award of Plaintiffs costs;
 10       (l) An award of attorney’s fees as permitted by applicable law; and
 11       (m)For such other relief as the Court deems just and equitable.
 12    Date: April 2, 2021
 13
                                                    _____________________________
 14                                                 Neil B. Klein
                                                    Maria del Rocio Ashby
 15                                                 Attorneys for Plaintiffs Manchester
                                                    International, LLC and Arturo Brook
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                                              COMPLAINT
Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 15 of 27 Page ID #:15




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Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 16 of 27 Page ID #:16




                                              Letter of Intent


            Arturo G. Brook and Emmanuel A. Ortiz desire to enter into a commercial relationship.
    This letter outlines the tenns of the relationship and signals their intent to enter into the
    appropriate agreements to fonnalize their understanding.
            Arturo G. Brook signs this letter on his own behalf and on behalf of Manchester
    International LLC, A California limited liability company. Emmanuel A. Ortiz signs this letter
    on his own behalf and on behalf of the companies of the Grupo Ortiz, a group of Mexican
    companies, and Puyol CV, a Dutch partnership. Each party shall cause the appropriate entities to
    execute and enter into the corresponding agreements to formalize the commercial relationship.
            Arturo G. Brook and his company shall provide trading services for materials and
    products to be acquired and sold by Emmanuel A. Ortiz and his group of companies. The
    services shall include trading; import/export coordination; management of buy/sell and
    import/export operations; coordination with providers and buyers; logistics support; and other
    activities that may arise from time to time being essential to the provision of the services and
    fulfillment of the obligations therein. The nature of the relationship shall be that of an agency
    with undisclosed principal. Arturo G. Brook shall not bear credit risk or product risk of any kind.
           The agreement shall become effective on November I, 2012, and shall remain in effect
    for 24 months. The term may be extended if both parties so desire. Emmanuel A. Ortiz shall
    compensate Arturo G. Brook for the provision of the services as follows:
         A commission of 0.80% on the value of the commercial activity perfonned on behalf of
    Emmanuel A. Ortiz, up to the first $25,000 of monthly fees.
         A commission of 0.50% on the value of the commercial activity perfonned on behalf of
    Emmanuel A. Ortiz, after the first $25,000 of monthly fees.
           A guaranteed minimum of $25,000 monthly fees regardless of the volume of transactions
    performed on any particular month.
            During the first 6 months of the agreement, the $25,000 minimum fee shall be paid in
    advance, on the first day of the month. Thereafter, the fee shall be collected from cash flows of
    the commercial operation, and in case of insufficient commercial activity, the balance shall be
    paid at the end of each month.
           Both parties endeavor to act in good faith and to enter into
    formalize the commercial relationship described herein.




                                                                                EXHIBIT A
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Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 17 of 27 Page ID #:17




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 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 19 of 27 Page ID #:19




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Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 20 of 27 Page ID #:20




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 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 21 of 27 Page ID #:21



Manchester International LLC
Accounts Receivable




INTERNACIONAL DE SACOS Y ARPILLAS SA DE CV
  Purchase       PO Date      Invoice     Invoice Date       Amount         Credit Notes      Paid           Outstanding        TOTAL
    Order                     Number                                                                          Balance
   337-1219 December 10, 2019   2672  December 19, 2019        $85,497.00             $0.00    $27,457.00        $58,040.00
   337-1219 December 10, 2019   2680  December 26, 2019        $83,583.50             $0.00         $0.00        $83,583.50
  341Z-1219 December 20, 2019   2699  January 1, 2020          $82,581.50             $0.00         $0.00        $82,581.50
  341Z-1219 December 20, 2019   2700  January 1, 2020          $83,162.00             $0.00         $0.00        $83,162.00
  341Z-1219 December 20, 2019   2701  January 1, 2020          $83,549.00             $0.00         $0.00        $83,549.00
  341Z-1219 December 20, 2019   2702  January 1, 2020          $83,441.50             $0.00         $0.00        $83,441.50
                                                                                                                                $474,357.50

SACOS DE POLIPROPILENO ESPECIALIZADOS SA DE CV (MATERIALES)
 Purchase        PO Date     Invoice     Invoice Date       Amount          Credit Notes      Paid           Outstanding        TOTAL
   Order                     Number                                                                           Balance
  320-1019 October 10, 2019    2620  October 16, 2019        $139,764.48              $0.00    $61,137.32        $78,627.16
  320-1019 October 10, 2019    2631  November 1, 2019        $105,497.00              $0.00         $0.00       $105,497.00
  337-1219 December 10, 2019   2655  December 16, 2019        $85,002.50              $0.00         $0.00        $85,002.50
 341Z-1219 December 20, 2019   2691  December 30, 2019        $82,044.00              $0.00         $0.00        $82,044.00
 341Z-1219 December 20, 2019   2692  December 30, 2019        $84,194.00              $0.00         $0.00        $84,194.00
 341Z-1219 December 20, 2019   2697  December 30, 2019        $83,248.00              $0.00         $0.00        $83,248.00
 341Z-1219 December 20, 2019   2703  January 1, 2020          $83,398.50              $0.00         $0.00        $83,398.50
  347-0120 January 14, 2020    2709  January 27, 2020         $83,824.00              $0.00         $0.00        $83,824.00
                                                                                                                                $685,835.16

SACOS DE POLIPROPILENO ESPECIALIZADOS SA DE CV (SUCURSAL)
 Purchase       PO Date      Invoice     Invoice Date        Amount         Credit Notes      Paid           Outstanding        TOTAL
   Order                     Number                                                                           Balance
 341Z-1219 December 20, 2019   2690  December 30, 2019         $83,764.00             $0.00          $0.00       $83,764.00
 341Z-1219 December 20, 2019   2696  December 30, 2019         $85,184.00             $0.00          $0.00       $85,184.00
 341Z-1219 December 20, 2019   2704  January 1, 2020           $84,065.00             $0.00          $0.00       $84,065.00
                                                                                                                                $253,013.00

TRENZADOS MARINOS SA DE CV
 Purchase       PO Date        Invoice     Invoice Date      Amount         Credit Notes      Paid           Outstanding        TOTAL
   Order                       Number                                                                         Balance
 337-1219 December 10, 2019      2657  December 16, 2019       $80,211.00             $0.00    $30,000.00         $50,211.00
 337-1219 December 10, 2019      2658  December 16, 2019       $80,969.50             $0.00         $0.00        $80,969.50
 347-0120 January 14, 2020       2719  January 28, 2020        $63,640.00             $0.00         $0.00        $63,640.00
                                                                                                                                $194,820.50

TRENZADOS MARINOS SA DE CV (SUCURSAL)
 Purchase       PO Date      Invoice     Invoice Date        Amount         Credit Notes      Paid           Outstanding        TOTAL
   Order                     Number                                                                           Balance
 337-1219 December 10, 2019    2651  December 13, 2019         $80,662.00             $0.00    $50,000.00        $30,662.00
 337-1219 December 10, 2019    2659  December 16, 2019         $79,698.50             $0.00         $0.00        $79,698.50
 347-0120 January 14, 2020     2712  January 27, 2020          $82,917.00             $0.00         $0.00        $82,917.00
                                                                                                                                $193,277.50

ARPILLAS DE EXPORTACION SA DE CV
 Purchase       PO Date       Invoice       Invoice Date     Amount         Credit Notes      Paid           Outstanding        TOTAL
  Order                      Number                                                                           Balance
 304-0819 August 13, 2019       2605    August 29, 2019       $110,184.25             $0.00    $40,025.25        $70,159.00
 304-0819 August 13, 2019       2606    August 29, 2019       $110,107.00             $0.00         $0.00       $110,107.00
 311-0919 September 13, 2019    2609    September 19, 2019     $72,937.50             $0.00         $0.00        $72,937.50
 313-0919 September 18, 2019    2610    September 22, 2019     $75,806.50             $0.00         $0.00        $75,806.50
 313-0919 September 18, 2019    2611    September 22, 2019     $75,825.75             $0.00         $0.00        $75,825.75
 320-1019 October 10, 2019      2617    October 16, 2019      $142,702.08             $0.00         $0.00       $142,702.08
 320-1019 October 10, 2019      2618    October 16, 2019      $139,209.60             $0.00         $0.00       $139,209.60
 320-1019 October 10, 2019      2626    October 28, 2019      $102,287.50             $0.00         $0.00       $102,287.50
 329-1119 November 12, 2019     2637    November 13, 2019      $98,268.00             $0.00         $0.00        $98,268.00
 329-1119 November 12, 2019     2638    November 13, 2019      $99,625.00             $0.00         $0.00        $99,625.00
 329-1119 November 12, 2019     2639    November 13, 2019      $99,027.00             $0.00         $0.00        $99,027.00
 329-1119 November 12, 2019     2640    November 13, 2019      $99,119.00             $0.00         $0.00         $99,119.00
 337-1219 December 10, 2019     2650    December 13, 2019      $84,810.35             $0.00         $0.00        $84,810.35
 337-1219 December 10, 2019     2654    December 16, 2019      $82,700.65             $0.00         $0.00        $82,700.65
 337-1219 December 10, 2019     2660    December 17, 2019      $82,078.50             $0.00         $0.00        $82,078.50
 337-1219 December 10, 2019     2667    December 18, 2019      $81,863.50             $0.00         $0.00        $81,863.50
 337-1219 December 10, 2019     2670    December 19, 2019      $82,379.50             $0.00         $0.00        $82,379.50
 337-1219 December 10, 2019     2679    December 26, 2019      $85,733.50             $0.00         $0.00        $85,733.50
 347-0120 January 14, 2020      2708    January 24, 2020       $86,772.00             $0.00         $0.00        $86,772.00
 347-0120 January 14, 2020      2710    January 27, 2020       $87,212.00             $0.00         $0.00        $87,212.00
 347-0120 January 14, 2020      2711    January 27, 2020       $88,664.00             $0.00         $0.00        $88,664.00
                                                                                                                               $1,947,287.93




                                                                                                             EXHIBIT C
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 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 22 of 27 Page ID #:22




NEO PELICULAS SA DE CV
 Purchase        PO Date       Invoice       Invoice Date      Amount          Credit Notes             Paid              Outstanding        TOTAL
   Order                       Number                                                                                      Balance
  328-1119 November 12, 2019     2632    November 8, 2019         $70,854.00             $0.00               $11,555.77       $59,298.23
  328-1119 November 12, 2019     2633    November 11, 2019        $73,824.00             $0.00                    $0.00       $73,824.00
  328-1119 November 12, 2019     2634    December 3, 2019         $73,914.00             $0.00                    $0.00       $73,914.00
  328-1119 November 12, 2019     2635    November 22, 2019        $70,710.00             $0.00                    $0.00       $70,710.00
  328-1119 November 12, 2019     2636    November 27, 2019        $71,880.00             $0.00                    $0.00       $71,880.00
  334-1119 November 15, 2019     2649    November 28, 2019        $71,252.00             $0.00                    $0.00       $71,252.00
 337A-1219 December 10, 2019     2652    December 13, 2019        $72,206.25             $0.00                    $0.00       $72,206.25
 337A-1219 December 10, 2019     2653    December 13, 2019        $72,093.75             $0.00                    $0.00       $72,093.75
  337-1219 December 10, 2019     2663    December 17, 2019        $64,572.50             $0.00                    $0.00       $64,572.50
  337-1219 December 10, 2019     2664    December 17, 2019        $64,003.75             $0.00                    $0.00       $64,003.75
  337-1219 December 10, 2019     2665    December 18, 2019        $63,938.75             $0.00                    $0.00       $63,938.75
  337-1219 December 10, 2019     2666    December 18, 2019        $63,857.50             $0.00                    $0.00       $63,857.50
  337-1219 December 10, 2019     2669    December 19, 2019        $64,085.00             $0.00                    $0.00       $64,085.00
  321-1019 October 10, 2019      2677    December 21, 2019        $62,562.50             $0.00                    $0.00       $62,562.50
  340-1219 December 13, 2019     2681    December 24, 2019        $72,843.75             $0.00                    $0.00       $72,843.75
  340-1219 December 13, 2019     2682    December 26, 2019        $72,843.75             $0.00                    $0.00       $72,843.75
  340-1219 December 13, 2019     2683    December 26, 2019        $72,881.25             $0.00                    $0.00       $72,881.25
  340-1219 December 13, 2019     2684    December 26, 2019        $72,862.50             $0.00                    $0.00       $72,862.50
  340-1219 December 13, 2019     2685    December 26, 2019        $72,768.75             $0.00                    $0.00       $72,768.75
  340-1219 December 13, 2019     2686    December 26, 2019        $74,118.75             $0.00                    $0.00        $74,118.75
  341-1219 December 20, 2019     2687    December 30, 2019        $63,131.25             $0.00                    $0.00       $63,131.25
  341-1219 December 20, 2019     2688    December 30, 2019        $62,302.50             $0.00                    $0.00       $62,302.50
  340-1219 December 13, 2019     2698    December 28, 2019        $71,868.75             $0.00                    $0.00       $71,868.75
  343-0120 January 11, 2020      2705    January 16, 2020         $73,500.00             $0.00                    $0.00       $73,500.00
  343-0120 January 11, 2020      2706    January 16, 2020         $72,206.25             $0.00                    $0.00       $72,206.25
  343-0120 January 11, 2020      2707    January 23, 2020         $73,293.75             $0.00                    $0.00       $73,293.75
  343-0120 January 11, 2020      2713    January 27, 2020         $72,112.50             $0.00                    $0.00        $72,112.50
  347-0120 January 14, 2020      2714    January 28, 2020         $63,818.75             $0.00                    $0.00       $63,818.75
  347-0120 January 14, 2020      2715    January 28, 2020         $63,900.00             $0.00                    $0.00       $63,900.00
  347-0120 January 14, 2020      2716    January 28, 2020         $63,802.50             $0.00                    $0.00       $63,802.50
  347-0120 January 14, 2020      2717    January 28, 2020         $63,737.50             $0.00                    $0.00       $63,737.50
  347-0120 January 14, 2020      2718    January 28, 2020         $63,786.25             $0.00                    $0.00       $63,786.25
  347-0120 January 14, 2020      2721    January 29, 2020         $63,477.50             $0.00                    $0.00       $63,477.50
  347-0120 January 14, 2020      2722    January 29, 2020         $63,445.00             $0.00                    $0.00       $63,445.00
  347-0120 January 14, 2020      2723    January 29, 2020         $63,347.50             $0.00                    $0.00       $63,347.50
  347-0120 January 14, 2020      2724    January 29, 2020         $63,250.00             $0.00                    $0.00       $63,250.00
  347-0120 January 14, 2020      2725    January 29, 2020         $63,250.00             $0.00                    $0.00       $63,250.00
                                                                                                                                            $2,510,746.98

SACOS DE POLIPROPILENO ESPECIALIZADOS SA DE CV (LEON)
 Purchase       PO Date      Invoice     Invoice Date          Amount          Credit Notes             Paid              Outstanding        TOTAL
  Order                     Number                                                                                         Balance
 341-1219 December 20, 2019    2693  December 30, 2019            $85,204.50             $0.00                   $0.00        $85,204.50
 341-1219 December 20, 2019    2694  December 30, 2019            $81,936.50             $0.00                   $0.00        $81,936.50
 341-1219 December 20, 2019    2695  December 30, 2019            $81,420.50             $0.00                   $0.00        $81,420.50
 347-0120 January 14, 2020     2720  January 28, 2020             $20,461.50             $0.00                   $0.00        $20,461.50
                                                                                                 Subtotal:                   $269,023.00

Payment for Machinery on behalf of SACOS DE POLIPROPILENO ESPECIALIZADOS SA DE CV (LEON)
    *                                NA    July 9, 2019            703,375.00            -                         -          703,375.00
    *                                NA    September 18, 2019       26,349.16            -                         -           26,349.16
    *                                NA    September 19, 2019      718,113.31            -                         -          718,113.31
            * Paid Machinery to SML MASCHINENGESELLSCHAFT MBH per EO Instructions                                           $1,447,837.47
                                                                                                                                            $1,716,860.47

DELIBAN EMPRESARIAL SA DE CV
 Purchase        PO Date     Invoice         Invoice Date      Amount          Credit Notes             Paid              Outstanding        TOTAL
   Order                     Number                                                                                        Balance
 122-0618 June 14, 2018        2288      June 21, 2018           $128,438.64             $0.00               $66,928.17       $61,510.47
 112-0618 June 4, 2018         2289      June 25, 2018           $122,250.00             $0.00                    $0.00      $122,250.00
 112-0618 June 4, 2018         2290      June 25, 2018           $118,125.00             $0.00                    $0.00      $118,125.00
 112-0618 June 4, 2018         2291      June 25, 2018           $118,250.00             $0.00                    $0.00      $118,250.00
 135-0718 July 11, 2018        2317      July 23, 2018           $117,249.00             $0.00                    $0.00      $117,249.00
 135-0718 July 11, 2018        2318      July 23, 2018           $119,124.50             $0.00                    $0.00      $119,124.50
 145-0718 July 17, 2018        2324      July 25, 2018           $124,206.00             $0.00                    $0.00      $124,206.00
                                                                                                                                             $780,714.97




                                                                                                                               EXHIBIT C
                                                                                                                                 19
 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 23 of 27 Page ID #:23



INDUSTRIA DE DISEÑO EN POLIMERO SA DE CV
  Purchase         PO Date    Invoice      Invoice Date                 Amount           Credit Notes           Paid             Outstanding         TOTAL
   Order                      Number                                                                                              Balance
  020-0118 February 6, 2018     2129  February 21, 2018                   $150,773.50              $0.00                 $0.00      $150,773.50
  068-0418 April 5, 2018        2175  April 12, 2018                      $130,938.50              $0.00                 $0.00      $117,897.00
  084-0518 May 10, 2018         2220  May 15, 2018                        $134,397.00              $0.00                 $0.00      $134,397.00
  112-0618 June 4, 2018         2252  June 13, 2018                       $151,125.00              $0.00                 $0.00      $151,125.00
  155-0818 August 2, 2018       2331  August 6, 2018                      $155,273.00              $0.00                 $0.00      $155,273.00
  165-0818 August 8, 2018       2357  August 24, 2018                     $156,987.00              $0.00                 $0.00      $156,987.00
  260-0419 April 10, 2019       2505  April 15, 2019                      $106,919.75              $0.00                 $0.00      $106,919.75
  260-0419 April 10, 2019       2557  April 30, 2019                      $106,037.00              $0.00                 $0.00      $106,037.00
  280-0619 June 12, 2019        2572  June 28, 2019                       $105,380.00              $0.00                 $0.00      $105,380.00
  299-0719 July 10, 2019        2582  July 15, 2019                       $109,532.50              $0.00                 $0.00      $109,532.50
  299-0719 July 10, 2019        2583  July 15, 2019                       $109,285.00              $0.00                 $0.00      $109,285.00
  304-0819 August 13, 2019      2601  September 3, 2019                   $109,154.25              $0.00                 $0.00      $109,154.25
  304-0819 August 13, 2019      2602  September 4, 2019                   $110,750.75              $0.00                 $0.00      $110,750.75
  320-1019 October 10, 2019     2621  October 16, 2019                    $139,079.04              $0.00                 $0.00      $139,079.04
  320-1019 October 10, 2019     2622  October 16, 2019                    $139,992.96              $0.00            $34,566.00      $105,426.96
                                                                                                                                                    $1,868,017.75

NEO EMPAQUES INTERNATIONAL SA DE CV
 Purchase         PO Date   Invoice               Invoice Date          Amount           Credit Notes           Paid             Outstanding         TOTAL
  Order                     Number                                                                                                Balance
 207-1218 December 6, 2018    2429           December 17, 2018            $126,096.75             $0.00             $70,369.25       $55,727.50
 207-1218 December 6, 2018    2430           December 17, 2018            $124,780.50             $0.00                  $0.00      $124,780.50
 207-1218 December 6, 2018    2431           December 17, 2018            $124,780.50             $0.00                  $0.00      $124,780.50
 211-1218 December 17, 2018   2434           December 17, 2018             $27,998.42           $881.84                  $0.00        $27,116.58
 211-1218 December 17, 2018   2436           December 18, 2018             $27,998.42           $881.84                  $0.00        $27,116.58
 211-1218 December 17, 2018   2437           December 18, 2018             $27,998.42           $881.84                  $0.00        $27,116.58
 211-1218 December 17, 2018   2438           December 18, 2018             $27,998.42           $881.84                  $0.00        $27,116.58
 211-1218 December 17, 2018   2439           December 18, 2018             $27,998.42           $881.84                  $0.00        $27,116.58
 211-1218 December 17, 2018   2440           December 18, 2018             $27,998.42           $881.84                  $0.00        $27,116.58
 207-1218 December 6, 2018    2441           December 19, 2018            $124,751.25             $0.00                  $0.00      $124,751.25
 244-0319 March 19, 2019      2502           March 22, 2019               $110,923.58             $0.00                  $0.00      $110,923.58
 244-0319 March 19, 2019      2503           March 22, 2019               $110,948.83             $0.00                  $0.00      $110,948.83
 263-0419 April 11, 2019      2511           April 15, 2019                $80,136.50             $0.00                  $0.00       $80,136.50
 270-0519 May 15, 2019        2564           May 20, 2019                  $85,042.50             $0.00                  $0.00       $85,042.50
                                                                                                                                                     $979,790.65

RAZZA DISTRIBUTION
 Purchase         PO Date         Invoice         Invoice Date            Amount         Credit Notes           Paid             Outstanding         TOTAL
  Order                           Number                                                                                          Balance
    **                              2370     September 3, 2018               $9,200.00             $0.00             $4,000.00         $5,200.00
    **                              2371     September 3, 2018               $8,947.00             $0.00                 $0.00         $8,947.00
           ** Sold remaining Amazon inventory to Razza per EO Instructions                                                                            $14,147.00




                                                                                                           TOTAL:                                  $11,618,869.41




                                                                                                                                       EXHIBIT C
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Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 24 of 27 Page ID #:24




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 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 25 of 27 Page ID #:25



Manchester International LLC
Advanced Payments Received


DATE                           AMOUNT           TOTAL



FOODCORP MEXICO SA DE CV

September 4, 2018              $    78,323.01
September 12, 2018             $    79,962.63
September 18, 2018             $   109,616.88
September 18, 2018             $    80,084.59
September 24, 2018             $    79,762.67
September 27, 2018             $   119,631.16
October 1, 2018                $   333,055.14
October 9, 2018                $    79,248.86
October 11, 2018               $    81,992.68
October 15, 2018               $   156,415.01
October 18, 2018               $   134,309.50
October 19, 2018               $   138,347.23
October 29, 2018               $    98,727.83
November 1, 2018               $   211,119.00
January 6, 2018                $    40,747.46
November 13, 2018              $   239,781.00
November 20, 2018              $    73,630.05
November 21, 2019              $    80,561.62
November 23, 2018              $   104,010.02
November 30, 2018              $   331,179.15
December 10, 2018              $   148,265.70
December 19, 2018              $   165,391.96
December 24, 2018              $   210,343.05
December 27, 2018              $   167,391.36
December 31, 2018              $   154,616.04
January 15, 2019               $   159,424.59
January 17, 2019               $   144,208.75
January 18, 2019               $   160,151.22
January 23, 2019               $   161,932.94
January 29, 2019               $   205,482.97
January 31, 2019               $   174,884.09
February 12, 2019              $   210,470.64
February 28, 2019              $   234,634.99
March 1, 2019                  $   373,848.99
March 15, 2019                 $   170,425.99
March 25, 2019                 $   290,941.07
March 29, 2019                 $   264,036.71
April 1, 2019                  $   274,556.78
April 12, 2019                 $   110,834.09
April 25, 2019                 $    65,203.76
April 29, 2019                 $   487,818.63
May 9, 2019                    $   113,700.31
May 13, 2019                   $   184,348.82
May 13, 2019                   $    94,717.71
May 21, 2019                   $   214,784.44
May 28, 2019                   $   159,504.73
May 31, 2019                   $   154,587.61
June 13, 2019                  $   134,671.36
June 19, 2019                  $   114,377.84
June 26, 2019                  $   164,777.93
June 28, 2019                  $   157,658.67
July 3, 2019                   $   272,536.69
July 12, 2019                  $   316,202.13
July 29, 2019                  $   269,081.42
August 1, 2019                 $   320,409.68
TOTAL                                           $   9,656,729.15




                                                                   EXHIBIT D
                                                                      21
 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 26 of 27 Page ID #:26




PRODUCTOS MOCTEZUMA RURAL SPR DE RL

April 23, 2019              $   105,274.24
June 7, 2019                $   146,285.02
June 12, 2019               $   130,005.20
July 22, 2019               $   314,136.13
August 14, 2019             $   247,111.44
August 14, 2019             $    58,529.72
August 20, 2019             $   308,842.52
September 3, 2019           $   541,447.30
September 24, 2019          $   120,605.59
October 2, 2019             $   265,403.76
October 8, 2019             $    86,825.06
October 18, 2019            $   104,411.38
October 29, 2019            $    75,725.25
November 19, 2019           $    38,472.70
November 26, 2019           $    55,012.45
December 19, 2019           $    95,027.95
                                             $   2,693,115.71



LAFROYE SPR DE RL

September 3, 2019           $   142,626.18
October 8, 2019             $    74,315.82
October 18, 2019            $    25,354.63
October 29, 2019            $    40,280.42
October 29, 2019            $   146,462.07
November 19, 2019           $    51,578.30
November 25, 2019           $    51,321.53
December 2, 2019            $    81,695.17
December 6, 2019            $   133,333.33
December 19, 2019           $   157,087.97
January 16, 2020            $    66,947.03
January 16, 2020            $   239,853.23
                                             $   1,210,855.68



AGROCINTALAPA SPR DE RL

September 6, 2019           $   215,315.14
September 24, 2019          $   153,964.59
October 8, 2019             $   101,910.83
October 9, 2019             $   130,514.23
October 18, 2019            $   127,960.86
November 7, 2019            $   143,814.59
November 19, 2019           $    51,578.30
November 26, 2019           $   102,118.97
December 6, 2019            $    97,202.85
                                             $   1,124,380.36



ARVUN SPR DE RL

September 9, 2019           $    93,547.18
October 18, 2019            $    79,145.16
November 7, 2019            $    61,843.82
November 7, 2019            $   103,156.59
November 19, 2019           $   133,435.98
December 2, 2019            $    84,091.84
December 2, 2019            $   162,621.60
December 19, 2019           $   100,426.98
January 10, 2020            $    71,203.94
January 16, 2020            $   127,557.80
January 28, 2020            $   103,336.07
                                             $   1,120,366.96




                                                                EXHIBIT D
                                                                   22
 Case 8:21-cv-00624-DOC-KES Document 1 Filed 04/02/21 Page 27 of 27 Page ID #:27




PRODUCTORA SURENA MAYA SPR DE RL

April 23, 2019                  $   212,413.87
August 20, 2019                 $   308,188.59
October 29, 2019                $    74,725.07
November 19, 2019               $    77,367.44
November 25, 2019               $    68,243.72
                                                 $    740,938.69



ARRENDADORA EMM SA DE CV
Balance carried forward
from initial term (2012-2013)   $   560,522.10
                                                 $    560,522.10



CEDARS TRANSFER SA DE CV

September 3, 2019               $   499,875.03
                                                 $    499,875.03



AGROPECUARIA BALCHE SPR DE RL

November 25, 2019               $    38,899.61
January 10, 2020                $   132,872.71
                                                 $    171,772.32




TOTAL                                            $ 17,778,556.00




                                                                   EXHIBIT D
                                                                      23
